
*782OPINION.
Trussell:
The selling price of petitioner’s brewery stock being ' less than the March 1, 1913, value, and less than its cost, which was also less than the 1913 value, the loss sustained is the difference between the cost and the selling price, namely, $5,000. McCaughn v. Ludington, 268 U. S. 106; 45 Sup. Ct. 423; 5 Am. Fed. Tax Rep. 5376.
Mathematical errors of computation, if they exist, will be corrected in the final settlement.

The deficiencies may be redetermined in accordance with the foregoing findings of fact and conclusions of law, upon 15 days' notice, pursuant to Rule 50, and judgment will be entered in due course.

